EXHIBIT 26
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, and AMERICAN                      Case No. __________
 ASSOCIATION OF UNIVERSITY
 PROFESSORS,

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                        Defendants.



                                  Declaration of Caroline Light

I, Caroline Light, declare as follows:

         1.    I am a Senior Lecturer and Director of Undergraduate Studies in Women, Gender,

and Sexuality Studies (“WGS”). I have been a member of Harvard University since 2008.

         2.    I have a BA in history from Duke University and a PhD from the University of

Kentucky in history, with a particular focus on gender, race, and sexuality in the United States

South.

         3.    My research explores the ways in which race, gender, and region have shaped col-

lective memory and archival silence. I have studied and written about the experience of southern

Jewish assimilation as well as the intersection between armed self-defense, and race and gender

violence. I teach undergraduate courses on labor history, immigration, and gun violence, and I

advise undergraduates pursuing independent research on a variety of topics related to gender, sex-

uality, and power.
        4.      I am Jewish and have conducted significant research on Jewish history in the U.S.

        5.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP – Harvard Faculty Chapter.

        6.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

        7.      I am aware that the current administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 31, 2025, the U.S. Department of Education

(DOE), U.S. Department of Health and Human Services (HHS), and U.S. General Services Ad-

ministration (GSA) announced a comprehensive review of federal contracts and grants at Harvard

University and its affiliates. Most recently, I am aware that on April 3, 2025, officials from the

DOE, HHS, and GSA, sent a letter to Harvard, that was made public, and demanded that Harvard

immediately take a long list of actions to remain a recipient of federal funding.

        8.      I am aware that the demands made of Harvard are vaguely defined but include man-

dates regarding silencing pro-Palestinian political speech or political speech critical of Israel. The

demands also target the institution’s commitment to Diversity, Equity, and Inclusion (“DEI”).

        9.      I work in a field that is under particular scrutiny and is disfavored by the current

administration. Specifically, my research and teaching concerns gender and sexuality studies, eth-

nic studies, African American studies, and critical race theory. I believe that the Trump admin-

istration would consider these topics “woke.” I understand that the Trump administration has not

defined the term “woke” but instead uses it to refer to anything that the administration perceives

as a threat to the kind of reactionary politics it is trying to instantiate.

        10.     I am concerned about the future of my research because I worry that Harvard Uni-

versity may feel forced to accede to the Trump administration’s pressure. Harvard’s leadership has




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made some statements to suggest that it intends to support academic freedom. In the face of im-

mense financial pressure, however, I worry about the future security of teaching and scholarship

in gender and sexuality studies which has contributed to Harvard’s prominence as a vibrant and

diverse intellectual community.

       11.     If Harvard’s leadership decides to make concessions to comply with the Trump

administration’s demands, I believe it is likely to start with the programs, centers, and departments

that the Trump administration would identify as “woke.” Studies of Women, Gender, and Sexual-

ity could then become a target, with enhanced scrutiny on its curricular offerings and research. The

work that WGS does is likely to be viewed as a threat to the exclusionary values the Trump ad-

ministration seeks to implement nationwide. My position as the Director of Undergraduate Studies

in WGS is thus vulnerable.

       12.     I do not have tenure, which makes me particularly vulnerable to the administra-

tion’s demands for budget cuts.

       13.     As the Director of Undergraduate Studies in WGS, I work closely with more junior

lecturers and pre-tenure faculty. From my personal conversations with junior colleagues, I can tell

that they are fearful of losing their jobs. Lecturers’ positions are among the most precarious, and

they stand to lose the most if Harvard’s leadership decides to make concessions to comply with

the Trump administration’s demands.

       14.     I have witnessed a chilling effect on scholarly and pedagogical innovation as a di-

rect result of the Trump administration’s attacks on higher education. My colleagues teaching on

topics related to gender and sexuality – not only in my program, but also in other departments –

have been targeted and doxed based on the titles and intellectual foci of their courses. These attacks




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are harmful to academic freedom and freedom of expression, and they are likely to increase if

institutions, like Harvard, feel forced to comply with the administration’s demands.

       15.     I also worry about the mental health of my students. Many of them are women,

first-generation college students, queer, low-income, non-white, non-U.S. citizens, gender nonbi-

nary, and/or transgender. They are socially and politically vulnerable. In this moment, many are

demoralized and worried about whether their university will protect them if they are targeted by

the Trump administration.

       16.     The Trump administration’s demands have led to a chilling impact on the academic

environment at Harvard. I have observed that students are becoming more fearful about sharing

their perspectives in public fora. Last semester, the fall of 2024, I taught a general education class

about gun violence. I sought to create an environment where students could speak freely about the

impacts of firearm violence in their own lives and share and challenge their own beliefs about

these important issues without fear. I worked hard to present a multiplicity of sometimes conflict-

ing perspectives about guns and “gun rights” and encouraged students to debate the complexities

of our nation’s historic and contemporary approach to gun violence. I shared my own critical re-

search on the unjust and deadly effects of “stand your ground” laws. Given the current administra-

tion’s efforts to abolish bipartisan efforts to prevent gun violence and their efforts to undermine

and defund empirical research, I am thankful that I am not teaching that class now.

       17.     I feel the chilling effects of the demand letter around campus. For example, one of

my children gave me a keffiyeh as a Hannukah gift. I wear it as a reminder of my obligation as a

Jew, to use my relative privilege to participate in tikkun olam, or healing the world. For me, that

means caring about and responding to the suffering of others, like those who are experiencing

genocide in Gaza. There is nothing Antisemitic in my expression of care for and solidarity with




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Palestinian people. And yet, I have become more cautious about sharing my thoughts on issues

related to Palestine and Israel, in the classroom as well as on campus more generally. I also worry

that, when I wear my keffiyeh in public, I may be inviting physical harm or violence. I want my

institution to continue to be a space of intellectual innovation and freedom of expression, but the

vague demands from the Trump administration stand as a direct threat to these core values.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




Dated: _April 11, 2025_____           Signed:

                                             Caroline Light
                                             Senior Lecturer and Director of
                                             Undergraduate Studies in Women, Gender,
                                             and Sexuality Studies




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